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FARNAN,.,

November 13, 2017

V1A E-FILING

The Honorable Leonard P. Stark

U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building

844 North King Street

Unit 26, Room 6124

Wilmington, DE 19801-3555

Re: Bristol-Myers Squibb Company, et al. v. Aurobindo Pharma USA Inc., et al.,
C.A. No. 17-cv-374-LPS

 

Dear Chief Judge Stark:

The parties in the above-referenced consolidated cases write to request the scheduling of
a discovery teleconference.

Counsel for the parties in these consolidated cases, including at least one Delaware
Counsel and at least one Lead Counsel from the plaintiff and defendant groups,' participated in
verbal meet-and-confers (by telephone) on the following dates: October 27, November 8, and
November 10.

The dispute requiring judicial attention is listed below:?

e Pursuant to Paragraph 4 of the Scheduling Order (D.I. 19), the parties have agreed to the
terms of a proposed protective order that will govern discovery in these consolidated cases
except in one respect. The parties have been unable to reach agreement about whether and
how outside counsel of a Defendant may access the Competitively Sensitive Confidential]
Information of other Defendants.

 

' Because of the size of these consolidated cases, the meet-and-confers had many participants.
Plaintiffs Bristol-Myers Squibb Co. and Pfizer Inc. were primarily represented by Lead Counsel
Tracey Allen, Andrew Danford, and Timothy Cook and by Delaware Counsel Brian Farnan and
Michael Farnan. Nearly all defendants were represented on the meet-and-confers, with David
Abramowitz, Lead Counsel for defendants Torrent, Dr. Reddy’s, and Zydus, and Delaware
Counsel including Jack Phillips primarily representing the defendants’ positions.

> Defendants Sandoz, Apotex, Micro Labs, Bionpharma, InvaGen, Indoco, Macleods, Hetero,
Unichem, Emcure, Sunshine Lake, Wockhardt, Mylan, Prinston, Lupin, Aurobindo, Sigmapharm
Torrent, Dr. Reddy’s, and Zydus do not take any position with respect to the dispute above, and
therefore, will not be advocating for the position advanced by Plaintiffs or Co-Defendants Impax
and Sun.

919 N. MARKET STREET, 12TH FLOOR, WILMINGTON, DE 19801
PHONE: (302) 777-0300 ¢ FAX: (302) 777-0301 * WWW.FARNANLAW.COM
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Respectfully submitted,
/s/ Brian E. Farnan
Brian E. Farnan

cc: Counsel of Record (Via E-Filing)
